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NVB 5075 (Rev. 4/23)


                               UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEVADA


 IN RE:                                                          BK−23−50403−hlb
                                                                 CHAPTER 7
 CARL LACKEY


                                    Debtor(s)                    NOTICE OF DOCKETING
                                                                 ERROR




NOTICE IS ORDERED that the following docket entry requires correction:

           Docket Number/Entry:                 27 − Motion for Relief from Stay Property: NA Fee Amount $188.
                                                with Certificate of Service Filed by LUKE BUSBY on behalf of
                                                Mark E. Smith (Attachments: # 1 Exhibit # 2 Exhibit # 3
                                                Exhibit)(BUSBY, LUKE)
           Filed On:                            8/28/23
           With A Hearing Date Of:              9/27/23
           And A Hearing Time Of:               10:00 am

The reason(s) for the required correction(s) is as follows:

   *      PDF has an incorrect case caption. Please refer to the Local Rules and file an amended pleading or file it
          in the correct case immediately. The following caption item(s) are incorrect/missing:
          *     Bankruptcy Debtor(s)




Dated: 8/29/23


                                                              Mary A. Schott
                                                              Clerk of Court



           For additional information, please visit the court's web site at https://www.nvb.uscourts.gov
